
In re Brooks, Mitchell Jr.,; — Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Orleans, Criminal District Court Div. F, No. 401-101; to the Court of Appeal, Fourth Circuit, No. 2000-KA-0193.
Denied. However, because the court of appeal’s direct review of relator’s conviction and sentence did not address the merits of his claim that counsel rendered ineffective assistance at trial, and deferred consideration of the claim to post-convic*1158tion proceedings, relator may reurge the claim in an application for post conviction relief properly filed in the district court. La.C.Cr.P. art. 926(A); cf. La.C.Cr.P. art. 930.4(A) and (C) (permitting district court to default claims fully litigated on appeal or inexcusably omitted from the appeal).
